Case 2:04-cr-20413-SH|\/| Document 30 Filed 05/31/05 Page 1 of 2 Page|D 37

|N THE UNlTED STATES D|STR|CT COURT ill-59 33"'-~ '
FOR THE WESTERN D|STRICT OF TENNESSEE

 

 

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CLE?"?§‘(` l.,l,§§. UlST. CT.
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P|aintiff

VS.
CR. NO. 04-20413-D

VV|LL|A|V| WOODS

Defendant.

 

ORDER ON CONTlNUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |Vlay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav, Ju|v 21, 2005, at 9:00 a.m.. in Courtroom 3. ch F|oor of the
Federa| Bui|ding, i\/lemphis1 TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

lT ls so oRDEREo this 5/ day or May, 2005.

    

RNICE B. ONALD
UN|TED STATES D|STRICT JUDGE

lan .'joc;.;r‘.e.~t entered on tire dac`r\et noel m ;:r_:rr‘ iia='lce
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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CR-204]3 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

